                       Case 4:07-cv-05944-JST Document 4703 Filed 07/05/16 Page 1 of 1

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        Jason C. Murray
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                                                                           July 5, 2016


        VIA ELECTRONIC CASE FILING (ECF)

        Hon. Jon. S. Tigar
        U.S. District Court, Northern District of California
        450 Golden Gate Avenue
        San Francisco, CA 94102


                   Re:          In re Cathode Ray Tube (CRT) Antitrust Litig., Case No. 07-cv-5944-JST
                                (N.D. Cal.); Target Corp. v. Chunghwa Picture Tubes, Ltd., Case No. 11-cv-
                                05514 (N.D. Cal.)

        Dear Judge Tigar:

               I write in response to the Court’s June 28, 2016 Order Regarding Irico Entities (Dkt. No.
        4694). Plaintiff Target Corporation (“Target”) filed suit against the Irico Defendants on
        November 14, 2011 (Target Dkt. No. 1), but was not able to effectuate service of the Irico
        Defendants, and does not now oppose its claims against the Irico Defendants being dismissed
        with prejudice.

                                                                                       Respectfully submitted,


                                                                                       /s/ Jason C. Murray


                                                                                       Jason C. Murray
                                                                                       Counsel for Target Corporation




        cc: All counsel of record (service via ECF)



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